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Patrick H. Peluso

3900 E. Mexico Ave.
Suite 300

Denver, Colorado 80210

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Antoinette Herrera, et al.

v. Plaintiff(s)

Soothe, Inc., a Delaware corporation

Defendant(s).

CASE NUMBER
8:18-cv-01753-DOC-ADS

 

(PROPOSED) ORDER ON APPLICATION
OF NON-RESIDENT ATTORNEY TO APPEAR
IN A SPECIFIC CASE PRO HAC VICE

 

 

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

Peluso, Patrick H.

 

Applicant’s Name (Last Name, First Name & Middle Initial)
720-213-0676 303-927-0809

 

Telephone Number
ppeluso@woodrowpeluso.com

Fax Number

 

E-Mail Address

 

of Woodrow & Peluso, LLC
3900 E. Mexico Ave., Suite 300
Denver, Colorado 80210

 

 

 

Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of

Antoinette Herrera

 

 

 

Name(s) of Party(ies) Represented
and designating as Local Counsel
Aftergood, Aaron D.

 

Designee’s Name (Last Name, First Name & Middle Initial)
239853 310-551-5221 310-496-2840

 

Designee’s Cal. Bar No. Telephone Number Fax Number

aaron@aftergoodesq.com

 

E-Mail Address

HEREBY ORDERS THAT the Application be:
[_] GRANTED.
[-] DENIED: [[] for failure to pay the required fee.

Plaintiff(s) [—| Defendant(s) [7] Other:

 

of |The Aftergood Law Firm
1880 Century Park East, Suite 200
Los Angeles, California 90067

 

 

 

Firm/Agency Name & Address

[7] for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.

 

[_] for failure to complete Application:

[_] pursuant to L.R. 83-2.1.3.2: [7] Applicant resides in California; [7] previous Applications listed indicate Applicant
is regularly employed or engaged in business, professional, or other similar activities in California.
[_] pursuant to L.R. 83-2.1.3.4; Local Counsel: [] is not member of Bar of this Court; [7] does not maintain office in District.

[_] because

 

IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: [7] be refunded [1] not be refunded.

Dated

 

 

USS. District Judge/U.S. Magistrate Judge

 

G-64 ORDER (5/16)

(PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE

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